Mr. Robert B. Beach, Jr. Friday, Eldredge  Clark 2000 First Commercial Building 400 West Capitol Little Rock, AR 72201-3493
Dear Mr. Beach:
This is in response to your request for my review and approval of an Interlocal Cooperation Agreement ("Agreement") in connection with the Arkansas School Districts 1998 Cash Flow Program. Your request is made pursuant to A.C.A. § 25-20-104 (Repl. 1996).
You indicate in your correspondence that the Agreement is similar to those approved in past years. My review indicates that the Agreement is in proper form and compatible with the laws of this state. The Agreement is therefore hereby approved.
The foregoing opinion, which I hereby approve, was prepared by Assistant Attorney General Elisabeth A. Walker.
Sincerely,
WINSTON BRYANT Attorney General
WB:EAW/cyh